
169 S.W.3d 178 (2005)
In the Interest of R.J.M, B.M.M., D.J.M., Plaintiff.
Juvenile Officer, Respondent,
v.
R.D.M. (Father), Appellant,
R.H. (Mother), Defendant.
Nos. WD 64947, WD 64948, WD 64949.
Missouri Court of Appeals, Western District.
August 16, 2005.
Frederick P. Tucker, Macon, MO, for appellant.
James D. McConnell, Shelbyville, MO, for respondent.
Susan R. Barrow, Macon, MO, for R.J.M., B.M.M., and D.J.M. and Guardian.
Jill R. Creed, Macon, MO, for defendant.
Before: HARDWICK, P.J., BRECKENRIDGE and SPINDEN, JJ.

ORDER
PER CURIAM.
R.D.M. (Father) appeals from the judgments terminating parental rights to his sons, R.J.M. and D.J.M. Upon review of the record, we find the judgment is supported by evidence of Father's abuse and neglect, and that the termination was in the best interest of the children. The judgment is affirmed.
*179 We have provided the parties with a Memorandum explaining the reasons for our decision, because a published opinion would have no precedential value. Rule 84.16(b).
